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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


 LUTHER GRAHAM,
                          Plaintiff,                 Civil Action
                                             DOCKET NO. 16-1578(PGS)(LHG)
                 v.
                                        NOTICE OF CROSS MOTION FOR SUMMARY
 MONMOUTH COUNTY BUILDINGS AND                       JUDGMENT
 GROUNDS, DAVID KRYZANOWSKI,
 ROBERT W. COMPTON, and CRAIG
 BELL,

                          Defendants
 To: Christine Burke, Esq.                     Micci Weiss, Esq.
     Karpf, Karpf & Cerutti                    Cleary    Giacobbe        Alfieri
     Two Greenwood Square, Ste 128             Jacobs
     Bensalem, PA 19020                        5 Ravine Drive
                                               Matawan, NJ 07747
       Patricia Adams, Esq.
       Helen Cummings, Esq.
       Campbell Foley
       601 Bangs Avenue
       Asbury Park, NJ 07712



        PLEASE TAKE NOTICE that on a date and time to be determined

 by the court, or as soon thereafter as counsel may be heard, the

 undersigned attorneys for Defendant, Monmouth County Buildings

 and Grounds and Defendant Robert Compton, will cross-move before

 the    United   States    District     Court,    District    of   New   Jersey,

 Clarkson S. Fisher Building and U.S. Courthouse, 402 East State

 Street,   Trenton,    New    Jersey,    for     an   Order   granting   summary

 judgment to Defendant, County of Monmouth, together with any

 other relief the Court deems equitable and just.


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       PLEASE TAKE FURTHER NOTICE that Defendant will rely upon

 the accompanying brief and declaration in support of the within

 motion.

       PLEASE   TAKE   FURTHER   NOTICE   that   Defendant   requests   oral

 argument if opposition is filed or in the discretion of the

 Court.

       A proposed form of Order is attached hereto.

                                    Respectfully submitted,
                                    Kenney, Gross, Kovats & Parton




                                    DANIEL R. ROBERTS


                                    CLEARY GIACOBBE ALFIERI JACOBS, LLC



                                    /s/ Micci J. Weiss
                                    MICCI J. WEISS


 Dated: November 15, 2019




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